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                         EXHIBIT A
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                                            Electronically FILED by Superior Court of California, County of Riverside on 04/0112022 07 06 AM
                               Case Number CVRl2201296 0000016729396 · W. Samuel Hamrick Jr, Executive Oflicer/Clerk of the Court By Brigit Prado, Clerk


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                      Attorney for Plaintiff, Rene Gonzalez




                                              SUPERIOR COURT OF THE STATE OF CALIFORNIA

       "'°'""                                      COUNTY OF RIVERSIDE, CENTRAL DISTRICT
                10
       J,                                                                                       Case No.:        cvR12201295
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 c:;'N
 en    °'       11    RENE GONZALEZ,                                                       PLAINTIFF'S COMPLAINT FOR:
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   ~u,;
 ro             12
 I-<"'
 ro "                                          Plaintiff,                                  1. VIOLATION OF CIV. CODE § 2923.5;
u~
 >.. vi"'       13                                                                         2. VIOLATION OF THE TRUTH IN
 i:::: 0
 o u_                 V.                                                                      LENDING ACT, TITLE 12 C.F.R. §
       -g,
E-< .,.,        14
                                                                                              1026.41, ENFORCEABLE THROUGH
       ~
       ·3             SPECIALIZED LOAN SERVICING, LLC;                                        TRUTH IN LENDING ACT, TITLE 15
       en       15
       "2             GULF HARBOUR INVESTMENTS                                                U.S.C. § 1640, PERIODIC LOAN
        "'>
       -a"0     16    CORPORATION; and DOES 1-10,                                             STATEMENT REQUIREMENT;
       iXI
        ....          inclusive,                                                           3. VIOLATION OF FIN.CODE §4978(a);
        0       17
       -e                                                                                  4. VIOLATION OF THE ROSENTHAL FAIR
       ::c:"'
                18                             Defendants.                                    DEBT COLLECTION PRACTICE ACT;
       ""
       r-
       °'
       N                                                                                   5. NEGLIGENCE;
                19                                                                         6. UNFAIR BUSINESS PRACTICES,
                                                                                              VIOLATION OF BUS. & PROF. CODE
                20
                                                                                              § 17200, ET SEQ.
                21

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                23                                                                          (Amount in controversy less than $75,000)

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                27           COMES NOW plaintiff Rene Gonzalez, ("PLAINTIFF"), by and through his counsel, alleges

                28    as follows:




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                                                         PARTIES
 2               1.       PLAINTIFF is, and at all relevant times mentioned herein was a resident of Riverside

 3     County, California, and is the rightful and lawful owners of real property commonly known as 1752

 4     Fraser Circle, Corona, CA 92882, ("Subject Property"), and is his personal and principal residence.
 5               2.       Defendant Specialized Loan Servicing, LLC, ("SLS DEFENDANT") is a limited

 6     liability company with its principal place of business in Greenwood Village, Colorado. SLS
 7     DEFENDANT conducts, and at all times mentioned herein conducted, business in Riverside County,

 8     California. Its agent for service of process is United Agent Group, Inc. SLS DEFENDANT is the
 9     purported current loan servicer of the mortgage loan that is the subject of the allegations complained of
JO     herein.
11               3.       Defendant Gulf Harbour Investments Corporation ("GHIC DEFENDANT") is a
12     corporation with its principal place of business in Tampa Florida. GHIC DEFENDANT conducts, and

13     at all times mentioned herein conducted, business in Riverside County, California. Its agent for service
14     of process is Berman, Kean & Riguera, P.A. GHIC DEFENDANT is the purported current beneficiary

15     of the mortgage loan that is the subject of the allegations complained of herein.
16               4.       PLAINTIFF is ignorant of the true names and capacities of Defendants DOES 1-10,
17     inclusive, and therefore sues them by fictitious names. PLAINTIFF will amend this complaint to allege
18     DOES' true names and capacities when they are ascertained.
19               5.       PLAINTIFF alleges that DOES 1-10 claim some right, title, estate, lien or interest in the
                      (
20     Subject Property that is adverse to PLAINTIFF's own title. Each of these claims constitutes a cloud on
21     PLAINTIFF's title to the Subject Property from which PLAINTIFF seeks relief.
22               6.       PLAINTIFF alleges that DOES 1-10 are contractually, strictly, negligently, intentionally
23     or vicariously liable and/or otherwise legally responsible in some manner for each and every act,
24     omission, obligation, event or happening set forth in this complaint, and that DOES 1-10 are indebted
25     to PLAINTIFF as hereinafter alleged.
26                                            JURISDICTION AND VENUE
27               7.       Jurisdiction of this Court arises under Cal. Const. Art. VI § 10 and Code Civ.Proc.
28     §410.10 et seq. because DEFENDANTS engaged in business in the State of California and the acts of


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       wrongdoing alleged in this complaint occurred in California. DEFENDANTS have more than
 2     "sufficient minimum contacts" within the State of California such that this Court's exercise of personal
 3     jurisdiction over DEFENDANTS herein "does not offend the traditional notions of fair play and
 4     substantial justice." DEFENDANTS herein purposefully directed their activities to the State of
 5     California and consummated a transaction with a resident of the State of California, such as
 6     PLAINTIFF herein. As a result, DEFENDANTS caused an event or events to occur in California, and
 7     more particularly in Riverside County, California out of which this action arises and which forms the
 8     basis of this action.
 9             8.      Venue 1s proper m this Court pursuant to Code Civ.Proc. § 392(a) because
10     DEFENDANTS' liability to PLAINTIFF arose within the jurisdictional region of this Court. This Court
II     has jurisdiction over the parties. PLAINTIFF is a resident of Corona, California. All DEFENDANTS
12     regularly engage in business within Riverside County, California, and the real property is located in
13     Riverside County, California.
14             9.      PLAINTIFF is suing for damages that are related to violation various California statutes
15     and the Homeowner Bill of Rights Act wherein the amount of controversy is approximately $75,000.00
16     and/or according to proof.
17                                  GENERAL AND FACTUAL ALLEGATIONS
18             10.     PLAINTIFF alleges that on or about May 1, 2035, PLAINTIFF obtained a mortgage
19     loan on the Subject Property from E-Loan, Inc. in the amount of $82,200, memorialized by a Deed of
20     Trust. The maturity due date is on June 1, 2035. The Trustee is First Southwestern Title Company. This
21     Deed of Trust was recorded in the Riverside County, California Recorder's Office as Instrument No.
22     2005-0434131. (Exhibit "A", Deed of Trust).
23             11.     PLAINTIFF alleges that on May 20, 2021, a Substitution of Trustee was recorded in the
24     Riverside County, California Recorder's Office as Instrument No. 2021-0312268. This Substitution
25     purported to replace First Southwestern Title Company with Affinia Default Services, LLC, and to
26     assign rights to act under the Deed of Trust. (See Exhibit "B", Substitution of Trustee)
27             12.     PLAINTIFF alleges that on July 25, 2021, a Notice of Default and Election to Sell
28     Under a Deed of Trust was recorded in the Riverside County, California Recorder's Office as


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          Instrument No. 2021-0446181. (See Exhibit "C", Notice of Default and Election to Sell Under a
 2        Deed of Trust). Without a known recording of a Trustee's Deed upon Sale, a new slae date has been
 3        set for December 30, 2021.
 4                13.       PLAINTIFF did not receive any statements, calls or any communications by anyone
 5        since 2009 to approximately January, 2010, when he received a statement demanding all the money
 6        upfront, and a Notice of Default on July 26, 2021. PLAINTIFF filed a chapter 13 bankruptcy petition,
 7        but did not know that this loan was still in play. (See Exhibit "D", September 2021 Loan Statement)
 8                14.       A Substitution of Trustee was recorded on May 20, 2021, giving this loan to GHI
 9        DEFENDANT and assigning Affina Default Management as trustee.
10                15.       SLS DEFENDANT violated the Title 12 C.F.R. §1026.41(a),(b)(c) Periodic Statements
II        for Residential mortgage. No attempt was given prior to the borrowers to inform them of this debt, how
12        much interest was being charged.
13                16.       SLS DEFENDANT continued to violate Title 12 C.F.R. § 1026.41 (d)(3) by not
14        disclosing monthly statements that clearly provides accurate information using uncommon terminology
15        that is commonly understood
16                17.       SLS DEFENDANT continued to violate Title 12 C.F.R. §1026.41 (d)(2)(il),(d)(3)(i) and
17        (d)(4) failed to disclosure of the total sum of any fees or charges imposed since the last statement (in
18        this case 2009), the total of all payments received since the last statement, Including a breakdown of
19        how many payments were applied (previously to 2009), and a list of all transaction activity since the
20        last statement.
21                18.       SLS DEFENDANT accelerated this loan to become default, If the balance of a mortgage
22        loan has been accelerated but the servicer will accept a lesser amount to reinstate the loan, the amount
23        due under
24                19.       Pursuant to Title 12 C.F.R. § 1026.41(d)(l), SLS DEFENDANT must identify only the
25        lesser amount that will be accepted to reinstate the loan. The periodic statement must be accurate when
26        provided and should indicate, if applicable, the amount due is accurate amount due that will be
27        reinstated the loan as of that date or good through that date, respectively. SLS DEFENDANT in the last
28        offer with no date on the document no date of when this will expire.


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               20.     This loan actually matures in April 1, 2036, however this payment with a $49,300.00
 2     payment as a cash down payment is not a modification. So the borrower was not explained that after 3
 3     years the balloon payment of $113,270.77 actually balances with the amount owed however the
 4     maturity date is still 2036.
 5             21.     The borrower will be paying 3 years of $27,882 in interest only in addition to the
 6     $42,998.74 and the balloon of$113,270.77, which totals $184,151.51 and ends 2036. The 36 months is
 7     3 years. They amortization of the terms for 480 months. This should not be allowed. I would like to add
 8     to this case based on this offer is elder abuse. PLAINTIFF is 69 years old.
 9                                      CAUSES OF ACTION/REMEDIES
10                                          FIRST CAUSE OF ACTION
II      VIOLATION OF CIV.CODE §2923.5; FAILING TO NOTIFY THE HOMEOWNER ABOUT
12        POSSIBLE FORECLOSURE AND TO WAIT 30 DAYS AFTER NOTICE TO RECORD A
13                                             NOTICE OF DEFAULT
14                           (AGAINST SLS DEFENDANT and GHIC DEFENDANT)

15             22.     PLAINTIFF re-alleges and incorporates all preceding paragraphs as though set forth
16     fully herein.
I7             23.     Pursuant to Civ.Code §2923.5(a)(2), a mortgage servicer, mortgagee, trustee,
18     beneficiary, or authorized agent shall not record a notice of default pursuant to Section 2924 until all of
19     the following: Contact the borrower in person or by telephone in order to assess the borrower's financial
20     situation and explore options for the borrower to avoid foreclosure, including advising the borrower
21     that he or she has the right to request a subsequent meeting and, if requested, the mortgage servicer
22     shall schedule the meeting to occur within 14 days. The assessment of the borrower's financial situation
23     and discussion of options may occur during the first contact, or at the subsequent meeting scheduled for
24     that purpose.
25             24.     On July 25, 2021, SLS DEFENDANT and GHIC DEFENDANT recorded a Notice of
26     Default on the Subject Property. (Exhibit "C")
27             25.     SLS DEFENDANT and GHIC DEFENDANT failed to satisfy the requirements of
28     Civ.Code §2923.5(a)(2) before recording a Notice of Default, and violated this statute.


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              26.       PLAINTIFF requests an injunction and damages.
 2                                          THIRD CAUSE OF ACTION
 3             VIOLATION OF THE TRUTH IN LENDING ACT, TITLE 12 C.F.R. § 1026.41,
 4          ENFORCEABLE THROUGH TRUTH IN LENDING ACT, TITLE 15 U.S.C. § 1640,
 5                              PERIODIC LOAN STATEMENT REQUIREMENT
 6                            (Against SLS DEFENDANT and GHIC DEFENDANT)
 7            27.       PLAINTIFFS incorporate by reference, as though fully set forth in the preceding

 8     paragraphs this Complaint.

 9            28.       Pursuant to Title 12 C.F.R. § 1026.41, a lender/servicer is required to provide monthly
10     statements unless loan is in active bankruptcy or charged off.
11            29.       PLAINTIFFS have not received any statement on their loan from 2009 to approximately

12     January, 2010.
13            30.       By failing to serve and disclose periodic statements for a residential mortgage, SLS
14     DEFENDANT violated Title 12 C.F.R. § 1026.41(a),(b)(c).
15            31.       SLS DEFENDANT further failed to disclosing monthly statements that clearly provide

16     accurate information using uncommon terminology that is commonly understood, in violation of Title
17     12 C.F.R. § 1026.41 (d)(3).
18            32.       SLS DEFENDANT further failed to disclose of the total sum of any fees or charges
19     imposed since the last statement, the total of all payments received since the last statement, including a
20     breakdown of how many payments were applied, and a list of all transaction activity since the last
21     statement in violation of Title 12 C.F.R. § 1026.41 (d)(2)(ii),(d)(3)(i) and (d)(4).
22            33.       If the loan was charged off, SLS DEFENDANT has illegally accrued interest and other
23     fees on the loan for the duration of the time the loan was charged off pursuant to 12 CFR 1026.5(b)(2).
24     If the loan was not actually charged off as PLAINTIFF was advised, SLS DEFENDANT, and its
25     predecessors in interest (as well as the current beneficiary and its predecessors in interest) have violated
26     TILA's monthly statement mandate. Title 12 CFR § 1026.7 (requirement to send monthly mortgage
27     statements)
28            34.       SLS DEFENDANT further accelerated this loan to become default. Whereas here, the


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       balance of a mortgage loan has been accelerated, but PLAINTIFFS indicated that they will accept a
 2     lesser amount to reinstate the loan, the amount due under Title 12 C.F.R. § 1026.41 (d)(l) must identify
 3     only the lesser amount that will be accepted to reinstate the loan.
 4            35.     PLAINTIFF was additionally not advised their loan was charged off. If the loan was
 5     charged off, SLS DEFENDANT has illegally accrued interest and other fees on the loan for the
 6     duration of the time the loan was charged off. If the loan was not actually charged off as PLAINTIFF
 7     was advised, SLS DEFENDANT and its predecessors in interest (as well as the current beneficiary and
 8     its predecessors in interest) have violated TILA's monthly statement mandate. Title 12 C.F.R. §
 9     1026.41.
10            36.     SLS DEFENDANT violated Title 12 § 1026.41(b)(l) and (2), and (d) by failing to
11     provide periodic loan statements regarding existing loan amount, current interest rate and amount due
12            37.     SLS DEFENDANT'S violation of Title 12 § 1026.41 entitles them to actual damages
!3     for these violations pursuant to Title 15 U.S. Code§ 1640(a).
14            38.     SLS DEFENDANT'S violation of Title 12 § 1026.41 entitles them to a rescission of the
15     loan pursuant to Title 15 C.F.R.§ 1639(j).

16                                          FOURTH CAUSE OF ACTION
17           VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICE ACT
18                          (AGAINST SLS DEFENDANT and GHIC DEFENDANT)
19            39.     PLAINTIFF incorporates by reference, as though fully set forth in the preceding
20     paragraphs this Complaint.

21            40.     SLS DEFENDANT and GHIC are debt collectors as defined by Civ.Code § 1788.2(t),
22     which now includes mortgage debt.
23            41.     The FDCPA prohibits a debt collector from making a false representation of the
24     amount, character or status of a debt. See Title 15 U.S.C. § 1692(e)(2)
25            42.     SLS DEFENDANT and GHIC DEFENDANT misrepresented the amount of the debt by
26     including interest and fees that it is federally prohibited from collecting on the PLAINTIFF(S)'s loan in
27     its reinstatement calculation, which was included in the recorded notice of default. SLS DEFENDANT
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       and GHIC DEFENDANT has made other false statements to PLAINTIFF regarding the amount of the
 2     his debt.
 3             43.        The Rosenthal Fair Debt Collections Practices Act requires debt collectors to comply
 4     with the requirements of the FDCPA.
 5             44.        SLS DEFENDANT and GHIC DEFENDANT has violated the FDCPA, and by

 6     extension, California's Rosenthal Fair Debt Collections Practices Act.
 7             45.        PLAINTIFF is entitled to $1,000 each for DEFENDANTS violations of the Rosenthal

 8     Act pursuant to Civ.Code § 1788.30(b).
 9     45.     PLAINTIFF is entitled to for attorney's fees pursuant to Civ.Code § 1788.30(c).

10                                              FIFTH CAUSE OF ACTION
11                                         VIOLATION OF FIN.CODE §4978(a)
12                                             (AGAINST SLS DEFENDANT)
13             46.        PLAINTIFF re-alleges and incorporates all preceding paragraphs as though set forth
14     fully herein.
15             47.        SLS DEFENDANT knew at the time of the loan that PLAINTIFFS could not afford the
16     loan.
17             48.        Fin.Code §4973 provides for the following provisions.

18             ( e)   A covered loan shall not contain a provision that increases the interest rate as a result of a

!9     default. This provision does not apply to interest rate changes in a variable rate loan otherwise

20     consistent with the provisions of the loan documents, provided the change in the interest rate is not
21     triggered by the event of default or the acceleration for the indebtedness.
22             (f) (1) A person who originates covered loans shall not make or arrange a covered loan unless at

23     the time the loan is consummated, the person reasonably believes the consumer, or consumers, when
24     considered collectively in the case of multiple consumers, will be able to make the scheduled payments

25     to repay the obligation based upon a consideration of their current and expected income, current
26     obligations, employment status, and other financial resources, other than the consumer's equity in the

27     dwelling that secures repayment of the loan. In the case of a covered loan that is structured to increase
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     to a specific designated rate, stated as a number or formula, at a specific predetermined date not
 2   exceeding 3 7 months from the date of application, this evaluation shall be based upon the fully indexed
 3   rate of the loan calculated at the time of application.
 4           49.     Because SLS DEFENDANT's loan violated Fin.Code §4973(e) and (f) PLAINTIFF is
 5   entitled to monetary damages of $15,000 pursuant to Fin.Code §4978(a)
 6           50.     Because SLS DEFENDANT's loan violated Fin.Code §4973(e) and (f). PLAINTIFF is
 7   entitled to monetary damages of $15,000 pursuant to Fin.Code §4978(a)
 8           51.     PLAINTIFF is entitled to attorney's fees pursuant to Fin.Code §4978(a).
 9           52.     PLAINTIFF is entitled to an injunction modifying the negative amortization loan
10   pursuant to Fin.Code §4978(b).
11                                           SIXTH CAUSE OF CAUSE
12        VIOLATION OF CIV.CODE § 1788.17, UNFAIR DEBT COLLECTION PRACTICES
13   (AGAINST WSC DEFENDANT, IMH DEFENDANT, ZBS DEFENDANT, HBC DEFENDANT)
14           53.     PLAINTIFFS re-allege and incorporate all preceding paragraphs as though set forth
15   fully herein.
16           54.     PLAINTIFFS are consumers.
17           55.     PLAINTIFFS object to the collection activity of DEFENDANTS arising from the debt
18   on the Deed of Trust to the Subject Property.
19           56.     DEFENDANTS are debt collectors under the FDCPA. See Dowers v. Nationstar
20   Mortgage, LLC, 852 F.3d 964 (2017).
21           57.     DEFENDANTS violated Title 15 U.S.C. § 1692(e)(2) by falsely stating an amount owed
22   that was not owed to DEFENDANTS.
23           58.     PLAINTIFFS are entitled to $1,000 each for DEFENDANTS violations of the Rosenthal
24   Act pursuant to.Civ.Code § 1788.30(b).
25           59.     PLAINTIFFS are entitled to for attorney's fees pursuant to Civ.Code § 1788.30(c).
26   II
27   II
28   II


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                                         EIGHTH CAUSE OF ACTION
 2                                                 NEGLIGENCE
 3                          (AGAINST SLS DEFENDANT and GHIC DEFENDANT)
 4           60.     PLAINTIFF re-alleges and incorporates all preceding paragraphs as though set forth
 5   fully herein.
 6           61.     Recently, California courts have taken the position that a bank or lender may owe the
 7   borrower a duty not to act negligently in handling a loan modification application once it has
 8   undertaken to review the application. Lueras v. BAC Home Loans Servicing LP (2013) 221 Cal. App.
      th
 9   4 49, 49, 63.
IO           62.     Typically, a financial institution owes no duty of care to a borrower. Yet it may where
II   its activities either exceed those of a conventional lender or according to a review of six non-exhaustive
12   factors. These factors are: 1) the extent to which the transaction was intended to affect the PLAINTIFF;
13   2) the foreseeability of harm to him; 3) the degree of certainty that the PLAINTIFF suffered injury; 4)
14   the closeness of the connection between SLS DEFENDANT and GHIC DEFENDANT's conduct and
15   the injury suffered; 5) the moral blame attached to SLS DEFENDANT and GHIC DEFENDANT's
16   conduct; and 6) the policy of preventing future harm.
17           63.     PLAINTIFF alleges that SLS DEFENDANT and GHIC DEFENDANT breached their
18   duty of ordinary care and good faith to PLAINTIFF, their duty not to put PLAINTIFF in a worse
19   position than when they:
20                      a. Failed to notify the homeowner about possible foreclosure and to wait 30 days
21                          after notice to record a Notice of Default in violation of Civ.Code §2923.5.
22                      b. Violated Title 12 C.F.R. § 1026.41 by failing to provide periodic loan statements.
23                      c. Violate Fin.Code §4973 by giving PLAINTIFF a predatory loan that they knew
24                          he could not pay for completely, and would at some point default.
25           64.     Under Biakanja v. Irving, there are six (6) factors courts must analyze in determining
26   whether a lender or servicer owes the borrower a duty of care: ( 1) the extent to which the transaction
27   was intended to affect the plaintiff; (2) the foreseeability of harm to him; (3) the degree of certainty that
28   the plaintiff suffered injury; (4) the closeness of the connection between


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              65.   SLS DEFENDANT and GHIC DEFENDANT 's conduct and the injury suffered; (5) the
 2   moral blame attached to Title 12 C.F.R. § 1026.41 and Fin.Code §4973(e) and (f)'s conduct; and (6) the
 3   policy of preventing future harm. Biakanja, 49 Cal.2d at 650.
 4            66.   SLS DEFENDANT and GHIC DEFENDANT owed PLAINTIFF a duty of care as their
 5   activities exceeded the traditional scope of conventional money lending. SLS DEFENDANT and GHIC
 6   DEFENDANT's activities exceeded this scope when they undertook to review PLAINTIFF for
 7   modification assistance. In doing this, SLS DEFENDANT and GHIC DEFENDANT ceased acting
 8   wholly as money lenders and began acting instead as agents for the Departments of Treasury, and
 9   Housing and Urban Development, officiating their Making Home Affordable Program, through which
10   loan modification is awarded. SLS DEFENDANT and GHIC DEFENDANT's activities further
11   exceeded this scope, as money lenders are traditionally in the business of collecting, not modifying
12   loans.
13            67.   SLS DEFENDANT and GHIC DEFENDANT's breaches are the actual and proximate
14   cause of PLAINTIFF's damages because, but for their breaches, PLAINTIFF's loan would have been
15   modified, arrearages would not have been capitalized, the loan would have become current, and the
16   monthly payments would have been decreased avoiding late penalties. If SLS DEFENDANT and
17   GHIC DEFENDANT acted reasonably and even if they denied PLAINTIFF's RMA within the
18   statutory and or reasonable period, Plaintiff would have avoided a large arrears and large interest,
19   which could now possibly cause foreclosure of the property.
20            68.   As a consequence of SLS DEFENDANT and GHIC DEFENDANT's practice in this
21   regard, PLAINTIFF suffered damages by: (1) Excess interest and penalties for failing to showpaymetns
22   due; (2) loss of income due to borrowers' loss of hours at work in order to facilitate SLS DEFENDANT
23   and GHIC DEFENDANT's repetitive request for unnecessary documents; (3) incurred additional and
24   unnecessary late penalties on top of the default servicing which included the recording of the Notice of
25   Sale; (4) damaged his credit in the process; and (5) higher arrears that is no longer affordable to
26   Plaintiff.
27            69.   PLAINTIFF demands restitution and damages in an amount to be determined at trial and
28   to disgorge their profits. PLAINTIFF incurred copying and faxing costs and attorney fees in the loan


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     modification application process.
 2                                         NINTH CAUSE OF ACTION
 3    UNFAIR BUSINESS PRACTICES, VIOLATION OF BUS. & PROF.CODE §17200, ET SEO.
 4                         (AGAINST SLS DEFENDANT and GHIC DEFENDANT)
 5           70.      PLAINTIFF re-alleges and incorporates all preceding paragraphs as though set forth

 6   fully herein.
 7           71.      SLS DEFENDANT is engaged in the business of lending money for real property
 8   purchases and selling mortgages/deed of trust as secured loans, and or servicing those loans.
 9           72.      GHIC DEFENDANT is engaged in the business of securitized, real estate investment
10   trust on Wall Street, New York, New York.
II           73.      PLAINTIFF alleges that SLS DEFENDANT and GHIC DEFENDANT violated Bus. &
12   Prof. Code §§ 17200, et seq., by engaging in unlawful, unfair, and fraudulent business practices as
13   alleged above.
14           74.      PLAINTIFF alleges that SLS DEFENDANT and GHIC DEFENDANT violated the
15   "unfair," "unlawful," and "fraudulent" prongs of the UCL resulting in injury and economic loss to
16   PLAINTIFF when they purposely violated California Civ. Code§§ 2923.5, Title 12 C.F.R. §1026.41
17   and Fin.Code §4973.
18           75.      PLAINTIFF alleges that these acts and more are unlawful and unfair conduct has caused
19   substantial harm to PLAINTIFF and the California citizenry at large. A borrower may bring an unfair
20   claim per the statute by alleging that a servicer's statements or conduct was misleading.
21           76.      In the present case, the information provided to PLAINTIFF was certainly misleading
22   and not consistent as to the status of the loan modification and what she was supposed to do to satisfy
23   the lender's demands.
24           77.      PLAINTIFF has suffered an actual, pecuniary injury of the loss of the equity in the value
25   of the Subject Property, and the costs of seeking a remedy for SLS DEFENDANT and GHIC
26   DEFENDANT's actions.
27           78.      Under the three-factor analysis test found in Zuniga v. Bank of America, NA., 2014 WL
28   7156403 (C.D. Cal. Dec. 9, 2014), PLAINTIFF have stated a viable UCL claim.


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                      GONZALEZ v. SPECIALIZED LOAN SERVICING, LLC, et al.- PLAINTIFF'S COMPLAINT
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            79.     PLAINTIFF      demands     restitution,     and   that   SLS   DEFENDANT      and    GHIC
 2   DEFENDANT disgorge their illicit profits and that PLAINTIFF receives all monetary awards
 3   statutorily due to him.
 4                                           PRAYER FOR RELIEF
 5          WHEREFORE, PLAINTIFF prays for judgment in his favor and against DEFENDANTS and
 6   each of them as follows:
 7           1.     For restitution and the disgorgement of profits;
 8          2.      For actual damages for these violations pursuant to Title 15 U.S. Code§ 1640(a).
 9          3.      For a rescission of the loan pursuant to Title 15 C.F.R.§ 1639(j).

            4.      For monetary damages of$15,000 pursuant to Fin.Code §4978(a)
II          5.      For attorney's fees pursuant to Fin.Code §4978(a).
12          6.      For an injunction modifying the negative amortization loan pursuant to Fin.Code
13                  §4978(b).
14          7.      For $1,000 for each for DEFENDANTS violations of the Rosenthal Act pursuant to
15                  Civ.Code § 1788.30(b).
16          8.      PLAINTIFF is entitled to for attorney's fees pursuant to Civ.Code § 1788.30(c).
17          9.      For reasonable costs of suit pursuant to Code Civ.Proc. § 1032;
18           10.    For recompense of damages and arrears; and
19           11.    For any other relief as it may deem just and proper.
20

21   DATED: March 12, 2022                        CDLG,PC
22

23

24                                                BY:
25                                                            Tony Cara, Esq.
                                                              Attorney for PLAINTIFF, Rene Gonzalez
26

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                     GONZALEZ v. SPECIALIZED LOAN SERVICING, LLC, et al.- PLAINTIFF'S COMPLAINT
                                                                                            EXHIBIT A
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                 ounta due und1r th• Agraament mutt be paid In full not later than JUD 1, 2015.

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                  AgrNment lncfudlng, without llmltatlon, auch 1um1 that are adYancad by ua WMlf1ar or not at the time the tuma
                    vanced thn It any prfnclp1l 1um outstanding under ht Agreement The partl8I h.-.to Intend thatthll O..d or
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         Which hu the addre11 of 1752 Jl'ra-r Cirole, Coroaa,


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                  TOGEnfER WITH all the lmprovemenll now or hlrNfl8r erected on the property, and al 1U1manta. ,tgh111
         appurtanancN, and flxlu191 now ar hereafter• part ofthe property. All replacernentl and addltlons1hall a1lo be exww1d
         by thll DHd of Trual Al of thefonlgolng II memtd to In 1h11 DHd ofTrult • the ·Property.• You und. .tand and agree
         that MERS holda only legal title to the lnt8re1bl granted by you In thl1 OHd or Tru1t, but, II nec...ary 1D comply with
         law ar cuatom, MERS (a namlna• for Lender and Lender'■ ■uccencn and ullgn1) ha the right: ID exaralN any ar
         al of thou lntaraltl, lncludlng, but not 0mlled 1D, the right to forecloaa and ••I the Property; and to taka any action
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             YOU COVENANT that you are lawfufly. .ed of the ••111111 h81'11by COl1\'l¥ld and haw the r1ghtto grant and convey
         the Property and that the Property II unencumbered, axcept fer encumbrance, ar l'ICOl'd. You warrant and WIM deland
         generally the title to the Property agaln1t d clalml and demands, 1ubject to any encumbranoe1 of record.

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    ,._-r--'   2. AppHcllllon of Paymenla. Unlus appllcable law provld• otherwise, aR paymanta AICtl\lld by ua und• the
              rNmant and a.ctlon 1 ehaJI be applied by 1.11 u provided In the Agreement.

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           ed of trullt or other HCurlty agrwment with a llan which hu prlortly over thl• Dead o1 Tru1L You llhal pa1onTI d
              r cbUgaUona under any mortgage. deed of trust or other aecurtty lnstrumenta wlh a Uen which ha priority over
              aed of Truat, Including your covenan11 to make payrnanta when due. You 1had pay aft taxee, MNllmentl,
              11, fln• and lmpoelllona attributable to the Property which may attain priority CMtr thla DNd of Truat or any
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~ m p t l y fuml1h to u, al notlcae of amounts to be paid under thle paragraph and NICelpll evidencing any
'7_J---8Ud1 paymenls you make directly. You Ihall promptly dl1ch•ge any llen (other than a Han dllctoaad to ut1 In your
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           •axtanded cowraga• and any other hazards, lncludlng 1loodl or flooding and ear1hquakaa, far which M require
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          ucured by 1h11 Deed of 'fruit, whtllhar or not then due, with any a:,eu paid to you. If you abandon the Property, or
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               rty (lluch a a proceeding In bankruptcy, probate, for condemnation ortorfelturacr menforae law■ or regulatlont),
             we may do, and pay fer, anything neceuary to protect the Property'• valua and aur rlghtl In the Property. Our
                 may lnolude paying any 1uma ■ecurad by a llen which ha■ priority CMtr 1h11 DHd of Tru1t or aver any advance
          der the Agreement or thl9 Dead of Trust, appearing In court, paying reasonable at1erney'1 feel, paying any 1umI
            h you .,. required to pay under thfl Caed of Tru1t and entering on the Property to make rapafrl. We do nat hlw
            ka any action wa are permlttacl to take und• thll Sectloni and amcunta we pay under 1h11 Section ahall become
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              t"lamant data at the rate Htablllhad undtrthe Agraamant and Ihlll be payabla, with lntere■t. upon our requNt.


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            7. lnapecton. We may enter and lnapect the Property at any raaeonabla time and upon reuonable notice.

            a.   Conclemn■llon. The procNd1 of any award for damagel, direct or can1aquent:lal, In connection with any
        condemnation or othertaklng of any part of the Proparty, orforconvayance In lieu of condemnation, ara haraby 111lgned
        and ■hall be paid to u,. If the Property II abandoned, or if, after notice by UI to you that the condemnor off8ra 1D make
        an award or aettle a claim far damag•. you fall to reapond to uI within 30 da)'I aft8r the date 1h• notice II glvln, M
        are authortmd to collect and apply the pR>Clad1, at our option, allher to r1111ntlon or repair of the Property or to the
        1um1 HCUrad by thla Dnd of Tru1t, whether or not than due. UnlN■ wa and you otherwlN agree In wrttlng, any
        application of proceedl to prlnolpal shall nat extend or poetpone th• due data of the monthly paym1nta payable under
        the Agrwment and Sectfcn 1 or change th• amount of 1uch paymantl.
            I. No RalNN Upon Extanalon or Modlftoallon. Our granting or any extan■lon of time tor payment or cur
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        of Tru.i ■hall nal operate to l"NNII& you from your obllgatlona or Rablllty under the Ac,l'NftWlt or thltl Dead of TNat.

            10. luaoeacn and Aaalgna Bound: Joint and S.Wral Uabllty; Co-algn.,._ The OOV8nlntl and agreemen11
       of 1h11 Deed or Truitt ehaH bind and ban.nt your 1uooN■ora and permitted ualgne. Your covenants and ■gl'Nll'HHlta
       •hal be joint and 1ewral. Anyone who co-algn• thl1 Deed ofTru1t but do• notexacutlllhaAgnNNMnt: (a) II co-algnlng
       this OHd of Tn.llt only to mor1gaga, grant and convey ■uoh per1on 1I lntanl1t In the Proparty; (b) II not per■onaly
       obligated to pay Iha Agreement, but II obligated flD pay •H other IumI ucurad by thl■ Deed of Trust; and (o) ■gl'HI
       that we and anyone al1a who 1ign1 thlt Dead of Tru■t may agree to extand, modify, forbear or make any
       accommodations regarding tha twm1 ar thll Dead of Trult or the Agnaem■nt without IUch pnon'1 consent.

            11. Loan Charge■• If the loan 19curad by 1h11 DNd of Tn,tt II 1ub)act to a law which NII maximum loan charg11 1
       and that law la finally lntarpratad 10 that the ln1llr■lt or other loan charg• aollectld orto be collected In aoMICtlon with
       the loan exceed the permitted llmlt■, then: (1) anytuch loan charge 1haD be reduced by the amount nace11111Yto reduce

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   00                                                                                                       LOAII
        harge to th• permlttad lmlt; and (b) any 1um1 already cclllctad tom you which m:Nd permlltad llmltl wll be
            to you. We may chOOH to make thtl rwfund byraduclng 1h• prlnclpel owed under lhe AQntement or by miking
                                                                                                                    I 1 8012tt08


~         payment   to you. If a refund reduoee prfnclpal, the reduction wlll be treated u a partial prapayment wllhout any
  ~ y m a n t charge under the Agreement

   ~ 1~. Notlaee. UnlN1 othelwfte raqulrad by law, any notlcll to you provided for In thll Dead afTru1t1hal be dallvarad
           malled by ffl'lt dat• mall to the Property AddNII or any other ldd1'811 you dNlgnate by notice to us, and any notice
            11h11 be dallwrad or malled by ti rat c1. . mall to our addr••• ltatad above or any oth« add1'811 we ~natl by
            ca to you.

        13. Governing Lllw; leverablllty. The lntmpretatlon and enforcement of thll 0Nd af TNat thall be gcMlffltld by
         w af the jurfedlctlon In which the Property le located, ucept a preemptad by federal law. In the event that any
          Ion orclauH af thla 0Nd af TrustorthaAQrwmentconfflc1awlth appUcable law, IUCh confllct1hal not affect other
□ I p,GfMionl af thll Dffd of Tru,t orlhe Agl'Hffllfttwhlch can be glVlf'I affactwlthoutthl conflicting pl"CMllon. To thll end
~ provl1lon1 af thll Dead of Trust and the A;re111T1ent are declared to be             ...,..ble.
    ----. 14. Tranafar of the Prope,ty, If all or any part of 118 Property or any lntare1t In It 11 aold or tranmrred without our
      p written consent, we may, at our option, raqulrelmmedlata payment In tullofall1um1 NOurad bythl1 DNd ofTrutt.
    ~'HIW•IV8r, th■ option 1hall not be earclHd by u, If exarclN II prohJbltad by t.d•ral lllw u of the date of thll C.ld or
         It.

    Q           15.
                 Bal• of   AgrNment; Change or Loan Servicer. 'The Agreement or I par1lal lntarutln the Agreement (1Dgether
                       of Trusi) may be told one or more tlmH Without prior notice to you, A Hie may raul In a change In lhe
    -----......" thle Deed



u.
               (known u the •1.oan Sert1cer•) that colklcls monlhly payments due under the Agretmant ■nd thf1 Deed of Truat.
             • al,o may be one or more chang• of111• Loan 8eMcer unn,lltad to the 1aleof the.Agreernent lfth.,. II a change
            • Loan s.rvtcw, you wlU b• glwn wrfttlln notice of th• change u required by appncable law. Th• notice wl etata
            name and add1'811 or the new Loan Servicer and the addreu to which payments 1hould be made. The nolfc• wfl!
        allo contain any Information required by appllcable laW.

           18. Haardoue SubatancN. You shall not cauae or permit the pretence, un, dlapaaal, atorap, or,...._ of any
        Hazardoua Subatancee on or In the Property. You ■ hall not do, nor alaw anyone elH to do, anything affaallng Iha
        Propartythatl1lnvfolatlonofanyEnvlronmlllbdt.aw.Th1pracedlngtwoHntencu1hdnotapplytothep,..,,c1,un,
        or ttorag• on the Property of Hazlrdoua Sub1tanct11 In quantftfN that are gan. .uy recognized to be appropriate to
        normal raaldantlal u... and to maintenance of the Property. You 1hall promptly give u1 wrlttan notice af any lnveatlgatlon,
        claim, demand, law■ ull or other action by any govammantal or regulatDry agency ar private party lnwlvfng the Property
        and any Hazardou1 Subatance or Environmental Law or which you haw actual knawladge. If you learn or are nolltlad
        by any gavamment or regulatory authorly, that any removal or other remediation of any Hazardou1 Subetlnce aff8ctlng
        th• Property ■ naceuary, you ■hall prompUytakaall neceeu.ry remedial actionl In accordance with Environmental Law.
        M uNd In thll Deed ofTru■ti •ttazarc:101.11 Subelan011• .,.thoN1Ubefance1 deftn8d uto>dc orhuard01i111ubttancee
        by Environmental Law and tha fallowlng 1ubltlnce1: guoUne, ken>Nne, oth•r flammable or toxic petroleum praduc:11,
        tc>dc p•tlcld• and herbicide•, wlatlla IOlvlnta, materta11 containing a1bela or formaldehyde, and radlaeotivct
        materialt. Aa u1ecl In 1h11 Deed of Truat, "Environmental Law" IINNll'II federal l8Wa and laws of the JurtldloUon whent tha
        Property Ill lacated that 19lata to hNlth, 1afety or enwonmentll pnactlan.

           17. Acoel9n1tloni AemadlN. Youwm be In der.un If (1) any payment NqUlred by the AQNH1ment• thl• DMd
       of Truat la not mad• when It 11 clue; (2) we dlaaowr that iou have oommltlad fraud or made • mlllerlal
       mllnpNNnta.tlon In conneollon with the AgrNm•nt; • P) your action, or rourfalkn to •ct. adverNIJ atfeota
       our aourlty tor the Agr.•m•nt or ■ny right we haw In the Property. ff ■ detauft ooo&ar·■• w. wlJJ glw you noll•
       apeclfylng: (a) th• CMfault; (b) the aotlon required to aure the default; (o) ■ date, not l■u ll■n 30 day• from the
       date th• notkNt I• given to ,au. by whlah the detllult muat be ouredi and (cl) that f■Ulft to OUN the default on
       or before the elate apeolfled In the nolloe ma, rNult In ---■ton or 118 aume NOlll'IICI by thla DNd of Tnlal
       ■nd -■le of the Property. Th• natloe lh■II further Inform you ot the right ta relnatall after aooelendlon and the
       right to bring a aourt aollon to aNl't the nonulanoe of • default or any other defenae you fflllY have ta

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         ...,,l'lllon and 1ale.1t lie default le not ourect on orbaforelle datl apNltlacl In the nalae, we, atouropllon.
 ~ requn lmmedlllla payment In ful ot all eum• NCUNN:I by Ihle DNcl of TrUlt wlllout fw1hlr dtlllllmd and
 ~ lmrolat ._ power of ule and other rwmedl•• pennlllN br applloabl• law. We ahall be enlllled to oalleot
                eMee lnourred In puraulng renHldfN provided In Illa Section 17, lnolucDng, laut not Umllld 1D. reuonable
               • .,•• ,... . . pennllllld bJ ■pplloabl• ••••
               • Invoke the power of ule, wa nll euoute or NUN TnaatN to e.xeoata • wrtlllln notlo• of Ill•
         ournno• of ■n ewnt of default llllcl of our alec:llon lo o■u• II• Prope,ty to be IOld. Tnl.... alllll NUN Ihle
           oe to be recorded In •lloh oounty In whloh any..., of._ Property la looalad. W. or 1tle TnlllN ehall md
            • of the notice• praaortbad by applloabl• Jaw to JOU llllcl to Iha other pereon. pnacrl:led by applloabl•
           T.,,..• ahall give publlo notice of Ml• to the pereoneancl In th• manner prMOllbed by appllcable law.Ms
          time ntqa,lnd by appllcable law, TruelN, wflhout d..,_,d on JOU, ahall Nil the Property at publlo aucllon
               hlGIINI bidder at the time and ptaoe 111d under the llrma dNlgnated In the notloe of ule In one or men
               • and In any orderTruaa dewmlnea. T.,...• 11111y pOlllpon• .... of all or any plUNI of lie PfOINN'IY by
0  ,   c,110    anllOWIOelMfttatlletlmeand
~ r o p e r t y at any .....
                                               pl••    otan,prnloullyachedulad Mia. WeoraurdealgnMma,punha•
'-u-----'TnndH ahaU deliver to th• puroha•r Tn.1118•'• deed OOIIVllylng th1 Prope,ty without - , oovenant or
              nty, expl'NNd or lmplled. n. ntOltalalnthe TMIIN'• dNcl ahall be aonolualveevl•noe otbttrulh of the
            menlll made llereln, 11111w    oth•.,.._   provided by applloable law. TnlatNattall apply the praa■eda      of._
           In the following order: (1) to all axpenNa of the Nie, lnoklclng, lbut not llmltlld ID,........._ Tnlae'a and
                ya' teN. • Ntforth above; (b) to •II aumawured by 1h11 Deed afTruat; and (o) •nr ..,...tollltt penon
             raon• legally entllled ID I.
           11, Dlloonlnuanae of Entoroement. Notwtthllllndlng our ICCllln1lol1 of the 1uma ncuredJJylhll Dllld af Trult
             the provl■Jana of SIGllan 17, w. may, In our toll dllcrltlon and upon tueh conclftlonl 11 n rn our1oledlloretlon

U             lne, dllcontlnue any proceeding■ begun to enforce the tarm1 or 1h11 Deed of Truat.

             • R1INN. Upon payment of all aum, 1acurld by thll Dead of TRIit. we or 1he Trul1N lhd ,...e th• Dead
       or Truat. You 1hlll pay any rwcordatlon or IHng COiia ■nd any fHI paid tD a third party for lll'VloN IWldarac:t In
       reconvaylng or relHllng thla Died of Truat. to the emnt allOWlld by law.
           2G. 8ubatftute TruatN. We may, at our ~ from time 1D llm• appoint • IIUOCNtor lrUltaa to any TNl1N
       appolnt.d h&NUnder by an lnnurnent UICUtad and acknowladged by UI and racarded In the allce dthe Recorder
       afthe county In which the Property II localad. 1he lnttnnent lhall contain the name of the ortglnal lander, TMtN and
       borrowl1r, th• book and page whel'91h11 o..d afTruat II nacorded and the name and addNII of the 1UCCN1artn1■-.
       Without conveyance of the Property, the ■uccenor tnlltee 1h1ll 1ucceed 1D al the tlU., pawwnr and dUIIII oonfln'ld
       upon the TruatN h.,., and by applicable law. Thi■ procedure for 1ub1tltutlon af trul1N ■hall govern 1D th• muaton
       or au other pl'CMllonl far aubl1lutlon.
           21. RequMt for NotloN. You raqueat that copiN of lhe notlCIS af d...at and .... be Nntta your addNIN which
       II tha Property Addl'III,

           22. lldlrMnl of ObDg■tlon FN. We may oollect a fN not to 8ICDHd th• mamnum amount!permllad by llwfar
       fUrnllhlng the 1tatament or obUgatron a provided kl 8ectlon 2MS or the CM Code of callbnll..

           23. Waiver. No waivar by ua at any time of any term. provision or CCMln■nt contained In thll Deed ofTrult or In the
       AQl"Hffllnt •cured hlNby lhlll be dNmed to be ot aonatruad • a walvw or any other term, pravWon or CCM11W1t
       or of the 1ame terfflt provfaJon or covenant at any other time.
           24. Addllonal ChargN. You agree to pay rwonable duqel a allowed by law In connection with the aervlolng
       oltha loan lncludlng, wlhout Rmrtatlon. the COltl of obtalt,lng 1Ul81Ja181 and aubordfn■tlonl. prcMded, llcMwM, lhat
       nothing contalnld In thll 1actlon la lntlndld tD er.- and n l not be conatruad ID cna any duty or oblgdon by
       ua to perform any auch act. or lo executa or conNnt to IIP/ 1uch tran11ctfon or mdlr, except a.ral••• of the DNd
       al Truat upon Y rwpayment or ■I auma INICU'8d thereby.

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           21. RI.,_ ID Na Deed of Tnlll. Hone or men rlderl . . aaadllct by,au and recorded lagllhswlh 11111 Dlld d
     1he cownan11 and llgl'Nrnentl af Nch auch rldar lhal be lncorpcnlad 1nm and lhal amtll'ld and auppltlmant Iha
~   nanlaandlQNementloftilDlldofTrultalftherldtt(l)wwaapartofldlDNdafTruat.            [Checkapplcablebox(•))
  ~ Condominium Rider D 1-4 Famlly Rider CJ Planned Unit DIMlopment Alder
  ~ Olher(t) [apaclfy] IIQUlfl' LUii UDllll




~          tel, INltcl M d - I l l lllap-DI:                  ~41(,l~
                                                                           a.                            _ ,/._
            IGNING BELOW, You accept and agree to the termt and covenantl conllllnacl i'I WI ONd of Tl'Ull and In any
           ( I ) _ . byyau and-wllh I.
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    00
    ..._____,
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    b
    00                                                Equity Line Rider
                                                                                               LOIIII 11 80121908

                                                                                  11111 •• 1000,,,2ooou11oa1
(Q               (Open end credit with      CJ fixed rate     CiJ variable rate interest)
                This Equity IJne Rider is dated a, 11, 2001                 amt i1 an amendment to the
                Mortgage or Deed of Tru1t ("Mortpae") oftbe same date and given by the undersigned,
                .._       Goa■al• ■




                ('13orrower") to aecure Borrowerts Home Equity Line Agrec,ment with
                11:-LOAa, !SC, 1 & mLa1IUIII CORPOaelClr


                (''Lender'') or the same day covering the property deacribed in the Mortpp and located at:
                1712 l'ruu- CJ.role, CDrou, CA 93112.


                In addition to the covenants and aareementa made in the Mortsase, Borrower and Leader further
                covenant and agree u follows:
                1. The word ''Note", u used in the Mortpp and this Rider, refora to the Home Equity IJne
                    of Credit Aareemem,
                2. The Note mdencca an open end reYOlving line of credit ..-,me.nt between Borrower ud
                    Lender under which tbture advances will be made. 1be amount ltated in the Mortpp u the
                    principal sum of the indcbtednen is the current credit limit for tho line of credit. All fiJturo
                    advancea from Lender to the Borrower under IUd1 evidence of debt, whether obJiptory or
                    discretionary lhaD be aecured by the Mortpse. AD obligatory future adYlncea and advances
                    to cure breachel of covenants contained in the Mortgage are aecured u if made on the date
                    ofthia Mortgage. Nothing in this Mortgage lhall constitute a commitment to make ldditioml
                    or fid:ure Ion or adwncea which c:xceod              ,,2 ,200. oo (wbidl repk.ma the eummt
                    provision in the partiea written agreement providina for obliptoryiltw'e advances.) All 111ms
                    advanced a n d ~ incurredby Lender for inluriDS, preeervmg or otberwiae protectins
                    tbePropatyanditl -valueandanyothersumsadvanced and apemeaincum,dbyLenderunder
                    the terms of thi1 Security Imtrumeat.
                3. The Noto provides for:
                         A variable rate of inten:at expreued u a daily periodic rate equal to l/365 of an
                         IIDlll rate of         1. 3711 pJua the "lndmt Rate''. The daily periodic rate may
                         increase if the hisllelt prime rate publiahed in the Wall Street Joumal ' ' M ~
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                0nliae Doaumlllil, Ille.                    Pqe I al 2               L128fllDU          210W 0205
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                          Rates" table (the uindex Rate") increael. The initial daily periodic rate is
                          o. 01111       The amml pcrmaae rate wiD nwer be mere than              11. ooot.
                          The daily periodic rate will be adjUJted on the fint bulinea day of every moatb,
                          using the index rate in etYect that day. Any mcreue in the daily periodic rate may
□   ....______,           incrwc the monthly payment due.

~                 NOTICE: THIS MORTGAGE SECURES CUBIT IN THE AMOUNT OF
                    .   ,12,200. oo WANS AND ADVANCES UP 'IO THIS AMOUNT, TOGETHER
    b             WITH INTEREST, ARE SENIOR TO INDEBTEDNESS TO OTIID CUDITORS
                  mmu SUBSEQVENTLY RECORDz;J;_FILED MORTGAGES AND. LIENS.
    (Q)                                                           hAc,~-c=                 ~/'l'f(,r (leal)
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    00
                               GOVERNMENT CODE 27361.7


              I HERBY CERTIFY UNDER PENALTY O:f P~RJURY THAT THE
            DOCUMENT TO WHICH tms STATEMENT ATTACHED READS AS
                                FOLLOWS: ·


    □-~

    ~
    ~
    (Q)
    y     PLACE OF EXECUTION:_·_ _ _ _ _ _ _ _ _ _ _ __

          DATE: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

          FIRM NAME: First Southwutun Title of Amerit:a BY:


                              GO~'MENT CODE 27361.7

          I CERTIFY UNDER PENALTY OF PERJURY THAT THE NOTARY SEAL
          ON THE DOCUMENT TO WHICH THIS STATEMENTS IS A1TACBED
          READS AS FOLLOWS:

          NAMEOFTBENO'rARY            J ..  L.    No.91 e.
          COMMISSION N0.--,1.J~L.W...Jo-.........· _. _ _____,.t---------.---.----
          COUNTY WHERE BOND IS FILE»·-:-:-~~=-----~...._._,,.~"-----
.
I
          MANUFACTURER/VENDOR NO.
          PLACE o:r~OJ\.              Or~
                                                        . kl UA
                                                            DATE     ~
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          DATE COMMISSION EXPmES_..,..._.................._.......__~--------

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                                                   NOTICE OF DEFAULT
                                               SUMMARY OF KEY INFORMATION
                                                                       RENE OONZA.LEZ

                        The ■llllched noUct ofdlrllult w■a lllnt to.                                    In

                relation 113 tm PIWElt Oil. CORONA. CA ma
                            (deecrlptlon of the property that 11a1rn the mottg■ge or deed of lrUll In def8Ult)
                Thie properly may ba mid to atlafy )'GUI' obligation and any oller oblgatlon l■CIUr8d by the
□   .___ _.     deed of tnat or mortgage that II ln default. UNI OONrAL1Z         hn, 11 clellcr1bed In the


~               noUc:e of def■ult, brNched the mortg■ge or dHd of truit on the property deacrtbed above.

                        IMPORTANT NOTICE: IF YOUR PROPERTY IS IN FORECLOSURE BECAUSE YOU


    ~
                ARE BEHIND IN YOUR PAYMENTS, IT MAY BE SOLD WITHOUT APfY COURT ACTION,
                and you may have the legal right 1D bl1ng your account In good ltandlng by paying 1ft of your
                put er. peymenta plul pem,m.d coa and txpeneN wllhln the ttme permllted by law tor
                ralnlbltement of your tccold, which la ncarmaffy ~ bulllrlus daya prfOr to thl dlll8 Ml tlr the

    (Q)         •le of your pn,perty. No •le Clltll may ba Ill unlll ■ppmxtmdtfy 80 d■ya tom thl dltl the
                IUaCMCI notice of defaul may bl rtOOrded (Which datll or NCOl'dallon lppeanl on lhe notlca).
                                       119,304.46
                        This amoum 18 _ . _         _ •. _ 1■   °'---,-----
                                                                    07/2JJ2021
                                                                            n             w111ncn. . unar your



u               account bacomn Qffl'lffl,
                                                                    (dal8)


                       WIiie your poperty la In fol'9daan, you ltHI ma pay other obQgatlone (IUch a
                Insurance end tlXea) l'lqUll9d by yoW"nola and deed ortruat or mortgage. If you Ill lo make
                Mure payment■ on the loan, pay tun on the property, provide l1w.nJICe on thl property, or
                pay OU.r obllg•tloml H requtntd In the nota and dNd of trutt or mot'tgllge, lie beneftallry or
                mortgagee may lntiat 1hal you do eo In cnerto ralnatattl your IICCCMd In good ltllncl•~· In
                addlton, the blnetlc:ilry or mortg■get may requn HI c:ondlllon 11D relnllltlment hit you
                provide reUlbll Mtttln evldencl thlt you paid ■ I Nnlor Ilana. ptoperty..., and hlDfd
                lnannce pramluma.

                       Upon your wrtaan requaat, the beMftclary or mortgagee wll give you • wrtten
                hmfnllon oflhe •nllr■ amount you mull pay. You may not have ID pay·lhe .,._ unpaid
                portion ofyolff ■ccount. avtn thouQh UI payment wn demanded. but you muat pay 111
                amounta In dlflul It the lime payment la made. Howev.r, you and JOU' bandcllry or
                mortQlgH may mm,ally agree In Wrb1Q prior to the time th■ nollOI of•• la po9lld (Which
                may not ba ..1111r thin ttne rnontha ■tllr thl■ noac■ cf defeul II 1'9COR1ed) lo, among other
                lhtnga. (1) proVCde 1ddltlonal time lnWhlch to cur■ the default by lrllnaflf of the property or
                otherwt.: or (2) 1at1blllh I dledUle of p■ym■ nls In order to Cll'8 your dellut; or both (1) and
                 (2).

                        F ~ the nptratlon ot the ttn■ period reltmtd to In the lnlt paragraph of lhlll
                 nollce, unleN the obllgatlon being toreclolld upon or 1 ■epal"lte wrlten agrweme~ between


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  6          EXHIBIT "B"
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                                                                         EXHIBIT A
                                                                      PAGE 26 OF 44
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                                                      04/26/22   Page 28 of 45 Page ID #:35
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                                                    05120/2021 04:33 PM Feu: $99.00
                                                                        Page 1 Of 1
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                                                                        County of Riverside
~APN:112-071-016                                                        Peter Aldana
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   r;===1 Alllnla Dnit SeMc1a. LLC
   t:==] When racorded, mall ID:                                        "Thia docunenl WN •ctron1ca1ly MfflMld
       Aflnll Default ServlcN, U.C                                      to the Cour1y "RiYerllde for recon:lil"G..
   r?i7
     ~ S01 E. Ocean Blvd. Suite 1720
   ~Lang BNdt, CA 90802
                                                                        Recelpled by: TERESAt134




u           TRIIIN'I Safe No: 9482-7153

                                                  8UIIITITU110N OF TRUITIE
□ .______,WHERIAB RENE OONZAL.EZ wu the ortglnal Tn.lltDr, and FIRST 80U11MESTEAN TITLE COt/lPAN'i -
lVl____..the olfglnal TruetN, 111d MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. 80LELY AS NOIINEE
'--i_r---lFOR E•LOAN, INC,. ITS SUCCESSORS AND ASSIGNS wa the ortglnal 8enelldlry under flat Oll'tlln Deed of
           Tn.-t dated 05/18'2005, and reoorded on 08l01/2005 under lnnument No.: 200&,0434131, 0fflclll Recoldl d

   b       Rivlnlde County, Callfomla; and WHEREAS. Gulf Harbour lnvNtmenta Corporation. the Ul'lderllned. II the
           pt"INnt Benetlclary und• 111d Deed of Truat. Ind WHEREAI the ll1deralgnad dellrN lo IUbdtuta a new
           Truatee under 111d Deed of Trull In tt'le place and lnlteld of uld orfglnal TNllN or prwvloully IUbltlluted
            TIUltM;

                 I 1HEIIEPORE, t h e ~ tNnby lUldulel AFFINIA DEFAULT SERVICES, LLC. whcllt lddrlll 111
            301 E. Ocean Blvd. Sule 1720, Long Beach, CA 80802, • Sl!colllOr Truae under uJd Dnd of TNIL



0           Wh8MV8r the oanlext hereof 10 requlrN. the mucullne gender lncludN the famlrh lrld/or neuter, 111d the
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                                                         Gulf Harbour DJ9IIIMID Corpol~ion


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                                                                                              Delawn Limited



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                                                                        EXHIBIT A
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     Case 5:22-cv-00718-CAS-SHK Document 1-1 Filed 04/26/22 ,,......._,
                                                             Page 30 of 45 Page ID #:37

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D ,.____,
                                                                              Du\.# 2021-0448181
                                                                              07f2812021 05:00 PM Fees: $108.00
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~           RECORDING REQUESTED BY:
                                                                              County of Rlverllfde
                                                                              Peter Aldana
                                                                              ,l\11N8or---County Clerk-Recorder

  b         LPS Default Title & Clo11D1
            3220 El Camino Real
             Irvine, CA '2602                                                 ..,,,,.docwnffl ... elac:tlo.Mlly IIUlfflllad

I®)          WHEN RECORDED MAIL TO:
            Affinia DefauJt Semces, LLC
                                                                              10 the Courty of Rh•wlde Air racardl~
                                                                              RIClllplld by. KAREN m7




=cg
D ._____,
            301 E. Ocean Blvd. Suite 1720
            Long Beach, CA 90802



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                                                                                   IM.CIAICMlflautal'ICla lllCC■DD'I UIS
                  APN: 112-071--015     TS No.: 9462-7153      TSG ORDERNo.:210186171-CA-VOI


  b             NOTICE OF DEFAULT AND ELECTION TO SELL UNDER DEED OF
                                       TRUST
  (Q)                            IMPORTANT NOTICE



u                                                      ••••
                                          ~: *::lef!t.S*--tfl&••
                   NOTE: THERE IS A SUMMARY OF THE INFORMATION IN THIS DOCUMENT ATTACHED

                                                ' jJI"' 4- 1. -1-~1~
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                                        AVISO DE INCUMPLIMIENTO
                      NOTA: SEADJUNTA UN RESUMEN DE LA l'NPORMACION DE ESTE DOCUMENTO

                                  PABATID NG HINDI PAGKAKABAYAD

                                     TB0NG8AOvt\1'CQU,\~TRANC,
             LUUY: mt THEO DAY LA BAN TRiNHBAY TOM Lt10C \~ m6NGTJN TR0NG TAIL16UN.AY
                  TALA: MAYJlOONG BUCO NG IMPORMASYON SA OOKUMBNTONG lTO NA NAKALAKIP

            (The above statement la made p11nuant to CA Civll Code Seedon 2923.3(c:)(1). The
            Sammary will be provided to Tnutor(s) and/or vetted OW11er(1) only, panaant to CA Civil
            Code Seetlon 2923.3(c:)(2).)

            IF YOUR PROPERTY IS IN FORECLOSURE BECAUSE YOU ARE
            BEHIND IN YOUR PAYMENTS IT MAY BE SOLD WITHOUT ANY
            COURT ACTION, and you may have the lepl rie,t to brin& yom account in Jood standing
            by ~ying all of your past due P8Y._Dlents plus pemµtted costs and ~ within the time
            permitted by law for reimtlternent of your account, which is normally five business days prior to




                                                                                                     EXHIBIT A
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                            .,,... ~ ' Document 1-1 Filed 04/26/22 ..--...
     Case 5:22-cv-00718-CAS-SHK                                      Page 31 of 45 Page ID #:38


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O,___....,
                                                                                 uv~ #:2021-0446181 Page 2 bf4     •




~            the date set for the sale of your FQpcrty. No sale date may be set until ~virnately 90 ~

    ~
             from the date this notice of default may be recorded (which date of recordation appears OD tliis
             notice).
             This amount is $79,304.46 as of 07/23/2021, and will increue until your account becomes

    00       current.While your ~ is in forcclo8:,i _you still must pay other obligations (such as
             insurance and taxes) recntired by your note   Deed of Trust or mortgage. If you fail to make
             future ~).'l!l~ts on the f~ ~ taxes OD the pr'C?perty, ~vide insurance OD the property, or pay
             other obligations as required in the note and Deed of Trust or mortgage, the beneficimy or
             mo~ec ~ insist that you do so in order to reinstate your account m good stan~. In
             addition, the 6cncficiary or mortgagee may require as a condition of reinstatement that you
             provide reliable written evidence that you paid all senior liens, property taxes, and hai.ard
□   ====     msurance premiums.
~            Upon your written request, the beneficiary or mQrtgagce will give you a written itemization of
             the entire amount you must pay. You may not have to pay the entire unpaid pc>r!ion of your
             account, even tho~ fulJ_payment was demanded, but you must pay all amounts m default at the
             time paY!J!CDt is made. However, you and your beneficiaJy or mortgagee may mutually agree in
             writing _prior to the time the notice of sale is posted (which ~ not be earlier than three months

    (Q)      after this notice of default is recorded) to, among other thi~. (1) ~vide additional time in
             which to cure the default by transfer of the p_rop,rty or otherwise; or (2) establish a schedule of
             payments in order to cure your default; or both (I) and (2).



U            Following the ~ o n of the time period referred to in the first paragraph of this ·notice, unless
             the obligation be~ foreclosed upon or a ~ t e written agreement between you and your
             creditor permits a longer p¢od, you have only the lea! ri&ht to stop the sale of your property by
             paying the entire amount demanded ey your creditor.~o tmd out the amount you must pay, or to
             arrange for payment to stop the foreclosure. or if your property is in foreclosure for any other
             reason, contact:
                                            SJ)edalfzed Loan Servidn& LLC
                                            cfo Afflllia Defaalt Services, LLC
                                              301 E. Ocean Blvd. Salte 1ffl
                                                 Long Beach, CA 90802
                                                 Attn: Foreelolan Dept.
                                                  Phone:833-290-7452
                                                    Fas:: 562-983-5379
             If you have any q■eltlom, you should contact a la")'er or the govenamental -.ney whleh
             may have ln1and your 1oali. Notwithltanding the fact that your_prope_rty la In forecloaure,
             you may offer your property for 1ale provided the tale ii eonduded prior to the concluton
             of the foreclosure..

             REMEMBER, YOU MAY WSE LEGAL RIGHTS IF YOU DO NOT TAKE
             PROMPT ACTION.
             NOTICE IS HEREBY OIVEN: That Affinia Default Services, LLC is either the original trustee,
             the duly appointed substituted trustee, or acting as agent for the trustee or beneficiary under a
             Deed of Trust dated 0S/18/2005, executed by RENE GONZALEZ, as Trustor(s), to aecurc
             certain obligations in favor of MORTOAOE ELECTRONIC REGISTRATION SYSTEMS, INC.
             SOLELY AS NOMINEE FOR E·LOAN, INC., ITS SUCCESSORS AND ASSIGNS, as
             beneficiary, recorded on 06/01/2005 as Document No.: 200S-0434131, of Official Records in
             the Office of the Recorder of Riverside County, Califomia describing land therein as: AJ more
             fully described on said Deed of Trust.




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                                                                                      &.IVC #2021.Q.4.46181 Page 3 of 4




                   Included among these obligations is one Notc(s) for the original sum of $82t200.00 that that
                   beneficial interest under such Deed of Trust and the obligations secured thereby presently held
                   by the beneficiary or its agent; that a breach of. and default in, the obligations for which said
                   Deed of Trust is security has occurred in that the payment bas not been made of:
                   Installment of Principal and Interest which became due on 11/28/2008, plus impounds
                   and/or advancea together with late charges, and all 1ub1equmt ln1tallmenta of principal,
                   interat, plus impounds and/or advances and late charges and any reoccurring obligation
                   that become due, including trustee's rees and n.pen1es.

! □ ~-~            That by reason therefore. the ~ t beneficiary under such Deed of Trust has declared and does
! f1..IL__         hereby declare all sums secured thereby immediately due and ~ayable and bu elected and does
l   '---u------1   hereby elect to cause the trust property to be sold to satisfy the obligations secured thereby.

  ~ ITwDSHAmww~ffl¥FANYOHif
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I r;= -~ tfoT =m,~ D~ut JIE TRU
i
I      ~           The beneficiary, mortla2e 1e"lcer, or agent or beneficiary or mortgqe servicer declarm that It bu


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i
       ~           coml))led with Californfa ctvn Code Seetloa 2923.S. and/or 2923.55, wherever applicable. T'lle
                   Decf■ratlon ii attached.




                                                        ::.;-ult Servi<()LLCn
                   Dated: J11ly 23, 2021
                                                                                                 Tnutee for tlae


                                                          By:     ~~"                                        -

                   This communication is an attempt to collect a debt and any infonnation obtained will be used for
                   that purpose. However, if you have received a discharge of the debt referenced herein in a
                   bankruptcy proceeding, this is not an attempt to impose personal liability upon you for payment
                   of that debt. In the event you have received a bankruptcy discharge, any action to enforce the
                   debt will be taken against the property only.




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                                                                                           DOC #t!U21-0446181 Page 4 of 4         •



    ¢=!)
      b           CALIFORNIA DFCLARATJON OF COMPUANCE
                                                        (CAL. av. CODI I 29W5)

      ®           Bonvwer(1)! RBNE CJONZA1Zl
                  Property Addrea: 1752 FRASER CIR. CORONA, CA 92882

    ~             T.S No.: 9462°7153
                   The undcrlipcd, IS an awhorlzed l8C1ll or ~)O)'lC o(lhe below mortpge ICl'Vfcet, dcc1lra II follows:
                       1. □ The IDOllaqe scrvlcc.r hu comcted the bcrrower In 111e111he borrowll"1 flnwial lituadclD
                           and ewplore opti01'11 for tbe borrower u, IYOid forecloaure • requlrecl by California Civil Code I
                           2923J5(b)(2). Thil1)' dayl haw paned since the initial C011t1Ct WII made.
                       2. □ The m011pge aemcer ha med with due mll,cnoe to C01111Ct the banower a requi'ed by
                           Calllomia Civil 0 . 12923.SS(f) but has 1101 made con~ dapb IUCb due dHip:nce. Thirty
                           days ba~ puled liDCe lbele due dilipacc eflblu MR lldlflcd,
                      3. □ No contlel wu required because the Individual did not meet die defiaitioa of ""borrower"
                           under CaHfomia CivO Code I 2920.5(c).
                      4. rii("The requirementJ of Califomia Civil Code I 2923-" do not apply became the 10111 ii not
                           sec:ured by a first Hen mor1pF or deed o( IMt oa "owner-occupied" or qulifyin, tffllll·
                           occupied reaidential real property as defined by Clfffarnia Cml Code 12924,15.
                   AdditiouJI.J,JUSlllnt to C&llfomia Civil Code 13273.10:
                       J. d'The martpp servicer hu IIOl demed die borrower I forbearuc:e requeat on or after 9/1/2020.
                      %. □ The mortpp servicer w unable ID approve the bonwer', n:quac fa- 1 bbannce on or
                           lfter 911Jl020. ml I forbcarlnoe WII not sableqamly provided. Acopy of tbe notice la IDICbed.
                      3. □ The mortpge servicer WIS unable to approve die bom>wcr'I Nqaest tar I forbearance en ar
                           after "1f.Z020.however, I fmbearanc:e WU tublcquentlypnmded. A copy oft.he appn,v■J 110DCe
                           11 ■aacbcd.
                      4. □ The n:quirlmenb of CalifcJnda CMl Code I 2923.55 do not apply became 1be Jou is not
                           lecared by I ftnl lien mortpp or deed of trust Oil ''owncr«wpled" or qualifyio, teaaDt -
                           occapied Mdential fPl pop,rty u defined by Clltfonia Cm1 Code I 2924.15.
                      5. □ The mortpp aervicer ia ill compliance widl California Civil Code I 3273.10 bec1111c the
                           mortgqe aerviccr bll ccmpl"led with dltl relevant provisions reprdin& ftlrbearn:e iD Scc:tion
                           4022 of the federal Corouvinl1 Ak!, Relief, and Bcoaomic Secllrity Ac1 (the CARES Act) (Public
                           Law !1~136), mcludiJ!8 any amendmems or reviliom 10 thOle proviliona. pwwant lo California
                           Civil Code 13273,lO(d).
                  I certify that dis dedantian ii accum. complete and luppot1ed by ~ and reliable evidence
                  wmcb die mmfNI: lel'Yicer hu miewcd lo IUbttaar.ille the bomJwcr's default and die ript IO fanclOIC.
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   6            EXHIBIT "D"
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 □~-
     00
 ~ Affinia Default Services, LLC
 '--i.r----" 301 B. Ocean Blvd.

     b           Suitc1720
                 Long Beach, CA 90802
                 Date: July 28. 2021
                                                         .......                                                        J
     frll ~ RENE GONZALEZ
     ~ 8560 W. SUNSET BLVD.
 1
     g           SUITE 500
                 LOSANOEl.llS, CA90069

' bb             T.S. Number: 9462-7153
) ~ l..oanNmnbot: 10102<ITT42

     ~           DEBT VALIDATION NOTICE

     ~           I.
     ~ The enclosed document relates to a debt owed to:

     ~           Gulf Harbour Investments Corporation




 0
                 2.
                 You may send us a written request for the name and address of the original credi1or, if ditfcrcnt
                 &om th! cmrent ~tor, and we wt~D          · and mail the information within ~(3~) days~t!V'?l f)
                 we receive your)l{11tten JF9UC&t,            ~ qj NA,1116J ClJd                         •7f    fJ-1 "'
                               ~,V-J~flljll:\ .....-:;
                 3.              IN¥,...,"' d~t;,               f?hl ..rtf,t,tr1
                 As of 07/23/2021 the total d e l ~ owed was $79,304.46 because of interest, late cbargea. and
                 other chmgea that may vary from day to day this amount will increase until the delinquency baa
                 been fully paid. Before -forwarding payment please contact the above at the address or phone
                 number listed in order to receive the current amcunt owed.


                 4.
                 Aa of 07/23/2021, the amount required to pay the entire debt in full was the unpaid principal
                 balance of $82,729.19, plus interest from 11/28/2008, late charges, negative escrow and attorney
                 and/or trustee's fees and costs that may have been incurred. The amount will increue daily until
                 the debt bas been pa.id in full. For further infbrmation please write to the above listed address.


                 5.
                 You may dispute the validity of this debt, or any portion thereot by c:ootacting our office at the
                 address shown above within thirty (30) days after receiving this notice. In that event, we will
         o       obtain and mail to you written verifacation of the debt. Otherwise, we will auume that the debt ii
                 valid.

                 This communication is an attempt to collect a debt and any information obtained will be used for
                 that purpose. However. if you have received a discharae of the debt referenced herein in a




                                                                                                           EXHIBIT A
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    CaseCase
         5:22-cv-00718-CAS-SHK           Document 1-1 Filed 04/26/22 Page 38 of 45 Page ID #:45
             Number CVRl2201296 0000016729397. W. Samuel Hamrick Jr., Executive Officer/Clerk of the Court By Brigit Prado, Clerk
                                                                                                                                                                                                                                                          SUM-100
                                                               SUMMONS                                                                                                                                              FOR COURT USE ONLY
                                                                                                                                                                                                                (SOLO PARA USO DE LA CORTE)
                                              (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AV/SO AL DEMANDADO):
 SPECIALIZED LOAN SERVICING, LLC; GULF HARBOUR
INVESTMENTS CORPORATION; and DOES 1-10, inclusive,
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
RENE GONZALEZ


 NOTICE! You have been sued . The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response . You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form . If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10 ,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 1A VISO! Lo han demandado. Si no responde dentro de 30 dfas, la corte puede decidir en su contra sin escuchar su version. Lea la informaci6n a
 continuaci6n.
    Tiene 30 DIAS DE CALENDARJO despues de que le entreguen esta citaci6n y papeles /egales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una /lamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta .
 Puede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
 que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
 podra quitar su sue/do, dinero y bienes sin mas advertencia.
   Hay otros requisitos legales. Es recomendable que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede /lamar a un servicio de
 remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia .org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
 co/egio de abogados locales. A VISO: Por fey, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

The name and address of the court is:                                                                                                                                                        CASE NUMBER:
                                                                                                                                                                                             (Numero de/ Caso):
(El nombre y direcci6n de la carte es):                                Riverside County Superior Court                                                                                                                        CVRI 2201296
4050 Main St.
Riverside, CA 92501
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el numero de telefono de/ abogado de/ demandante, o de/ demandante que no tiene abogado, es):
Tony Cara, CDLG, PC, 2973 Harbor Boulevard, Suite 594 Costa Mesa, CA 92626 (888) 615-6765

DATE:
 (Fecha)
            4/1/2022                                                 Clerk, by
                                                                     (Secretario)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
                                                                                                                                                                                                   r%                                                     , Deputy
                                                                                                                                                                                                                                                           (Adjunto)

(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)) .
                                  NOTICE TO THE PERSON SERVED: You are served
  ISEALJ
                   GC68150(g)     1.                            D
                                          as an individual defendant.
                                 2.                             D
                                          as the person sued under the fictitious name of (specify):

                                                                IVI                                                             SPECIALIZED LOAN SERVICING, LLC
                                                        3.      ~         on behalf of (specify):

                                                                 under:       D CCP 416.10 (corporation)                                                                                      D              CCP 416.60 (minor)
                                                                              D CCP 416.20 (defunct corporation)                                                                              D              CCP 416.70 (conservatee)
                                                                              ~ CCP 416.40 (association or partnership)                                                                       D              CCP 416.90 (authorized person)
                                                                              D   other (specify):
                                                        4.      D         by personal delivery on (date):
                                                                                                                                                                                                                                                              Pae1of1
 Form Adopted for Mandatory Use
                                                                                                                       SUMMONS                                                                                                   Code of Civil Procedure§§ 412 .20, 465

                                                                                                                                                                                                                            EXHIBIT A
   Judicial Council of California                                                                                                                                                                                                                  w ww. Courtinfn ,;a. gov
   SU M-100 [Rev. July 1. 2009]

                                                                                                                                                                                                                         PAGE 37 OF 44
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                                                                                                         RI-ADROOl-lNFO



                                        SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                     www.riverside.courts.ca.gov
                                   Self-represented parties: https://www.riverside.courts.ca.gov/SelfHelp/self-help.php

                                       ALTERNATIVE DISPUTE RESOLUTION (ADR) -
                                               INFORMATION PACKAGE


                            *** THE PLAINTIFF MUST SERVE THIS INFORMATION PACKAGE
                                           ON EACH PARTY WITH THE COMPLAINT.***
             What is ADR?
             Alternative Dispute Resolution (ADR) is a way of solving legal disputes without going to trial.
             The main types are mediation, arbitration, and settlement conferences.

             Advantages of ADR;
              , ,;_ Faster: ADR can be done in a 1-day session within months after filing the complaint.
              , ,;_ Less expensive: Parties can save court costs and attorneys' and witness fees.
              L     More control: Parties choose their ADR process and provider.
              , ,;_ Less stressful: ADR is done informally in private offices, not public courtrooms.

             Disadvantages of ADR:
              , ,;_ No public trial: Parties do not get a decision by a judge or jury.
              K.    Costs: Parties may have to pay for both ADR and litigation.

             Main Types          of ADR:
             Mediation: In mediation, the mediator listens to each person's concerns, helps them
               evaluate the strengths and weaknesses of their case, and works with them to create a
               settlement agreement that is acceptable to everyone. If the parties do not wish to settle
               the case, they go to trial.

             Mediation may be appropriate when the parties:
              £     want to work out a solution but need help from a neutral person; or
              £     have communication problems or strong emotions that interfere with resolution; or
              £     have a continuing business or personal relationship.

             Mediation is not appropriate when the parties:
              £     want their public "day in court" or a judicial determination on points of law or fact;
              £     lack equal bargaining power or have a history of physical/emotional abuse.

             Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
                arguments to the person who decides the outcome. In "binding" arbitration the arbitrator's
                decision is final; there is no right to trial. In "non-binding" arbitration, any party can request
                a trial after the arbitrator's decision. The court's mandatory Judicial Arbitration program is
                non-binding.




                                                                                                                     Page 1 of 2

Adopted for Mandatory Use
Riverside Superior Court
RI-ADR001-INFO [Rev. 06/10/21]
                                                                                                        EXHIBIT A
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  • Arbitration may be appropriate when the parties:
     .!4.   want to avoid trial, but still want a neutral person to decide the outcome of the case.

   Arbitration is not appropriate when the parties:
    .£     do not want to risk going through both arbitration and trial (Judicial Arbitration)
    £.     do not want to give up their right to trial (binding arbitration)

   Settlement Conferences: Settlement conferences are similar to mediation , but the settlement officer
      usually tries to negotiate an agreement by giving strong opinions about the strengths and weaknesses
      of the case, its monetary value, and the probable outcome at trial. Settlement conferences often
      involve attorneys more than the parties and often take place close to the trial date.

                                 RIVERSIDE COUNTY SUPERIOR COURT ADR REQUIREMENTS
                                       ADR Information and forms are posted on the ADR website:
                                      https://www.riverside.courts.ca.gov/Divisions/ADR/ADR.php

 General Policy:
   Parties in most general civil cases are expected to participate in an ADR process before requesting a
   trial date and to participate in a settlement conference before trial. (Local
   Rule 3200)

 Court-Ordered ADR:
   Certain cases valued at under $50,000 may be ordered to judicial arbitration or mediation. This order is
   usually made at the Case Management Conference. See the "Court-Ordered
   Mediation Information Sheet" on the ADR website for more information.

 Private ADR (for cases not ordered to arbitration or mediation):
    Parties schedule and pay for their ADR process without Court involvement. Parties may schedule
    private ADR at any time; there is no need to wait until the Case Management Conference. See the
    "Private Mediation Information Sheet" on the ADR website for more information.

 BEFORE THE CASE MANAGEMENT CONFERENCE (CMC), ALL PARTIES MUST:
  1. Discuss ADR with all parties at least 30 days before the CMC. Discuss:
       !!I_ Your preferences for mediation or arbitration.
       !!I_ Your schedule for discovery (getting the information you need) to make good decisions about
            settling the case at mediation or presenting your case at an arbitration.
  2. File the attached "Stipulation for ADR" along with the Case Management Statement, if all parties can
     agree.
  3. Be prepared to tell the judge your preference for mediation or arbitration and the date when you
     could complete it.
                                                (Local Rule 3218)

 RIVERSIDE COUNTY ADR PROVIDERS INCLUDE:
  !!I_ The Court's Civil Mediation Panel (available for both Court-Ordered Mediation and Private Mediation).
       See https://adr.riverside.courts.ca.gov/Home/CivilMedPanel or ask for the list in the civil clerk's office,
       attorney window.
  £.   Riverside County ADR providers funded by DRPA (Dispute Resolution Program Act):
       Dispute Resolution Service (DRS) Riverside County Bar Association: (951) 682-1015
       Dispute Resolution Center, Community Action Partnership (CAP): (951) 955-4900
       Chapman University School of Law Mediation Clinic (services only available at the court)



                                                                                                          Page 2 of 2

Adopted for Mandatory Use
Riverside Superior Court

                                                                                                 EXHIBIT A
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                                      SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
0     BLYTHE 265 N. Broadway, Blythe, CA 92225                                  0   MURRIETA 30755-D Auld Rd., Murrieta, CA 92563
0     CORONA 505 S. Buena Vista, Rm. 201, Corona, CA 92882                      0   PALM SPRINGS 3255 Tahquitz Canyon Way, Palm Springs, CA 92262
0     MORENO VALLEY 13800 Heacock St. #0201, Moreno Valley,                     0   RIVERSIDE 4050 Main St., Riverside, CA 92501
                                                CA 92553                                                                                                         RI-ADR001
                                                                                                                                  -vr l_.:UUK'f v~c   Vl~L   Y
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name. Stale Bar Number and Address)




            TELEPHONE NO:                                FAX NO. (Optional) :

 E-MAIL ADDRESS (Optional):

    ATTORNEY FOR (Name):



        PLAINTIFF/PETITIONER:

                                                                                                           1.,A:::,t: NUMtst:K:


  DEFENDANT/RESPONDENT:
                                                                                                           CASE MANAGEMENT CONFERENCE DATE(S):


                                 STIPULATION FOR ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                           (CRC 3.2221; Local Rule, Title 3, Division 2)

      Court-Ordered ADR:
      Eligibility for Court-Ordered Mediation or Judicial Arbitration will be determined at the Case Management
      Conference. If eligible, the parties agree to participate in:
        D    Mediation                   D    Judicial Arbitration (non-binding)

      Private ADR:
      If the case is not eligible for Court-Ordered Mediation or Judicial Arbitration, the parties agree to participate in the
      following ADR process, which they will arrange and pay for without court involvement:
        D    Mediation                   D    Judicial Arbitration (non-binding)
        D    Binding Arbitration         D     Other (describe):

      Proposed date to complete ADR:

    SUBMIT THIS FORM ALONG WITH THE CASE MANAGEMENT STATEMENT.


              (PRINT NAME OF PARTY OR ATTORNEY)                                 (SIGNATURE OF PARTY OR ATTORNEY)                                  (DATE)
              D      Plaintiff   D   Defendant



              (PRINT NAME OF PARTY OR ATTORNEY)                                 (SIGNATURE OF PARTY OR ATTORNEY)                                  (DATE)
              D      Plaintiff   D   Defendant



              (PRINT NAME OF PARTY OR ATTORNEY)                                 (SIGNATURE OF PARTY OR ATTORNEY)                                  (DATE)
              D      Plaintiff   D   Defendant



              (PRINT NAME OF PARTY OR ATTORNEY)                                 (SIGNATURE OF PARTY OR ATTORNEY)                                  (DATE)
              D      Plaintiff   D   Defendant



                                                                                                                                                                 Pa e 1 of 1
Adopted for Mandatory Use                                                                                                                                   Statutory Authority
Riverside Superior Court                     ALTERNATIVE DISPUTE RESOLUTION                                                  riverside.courts.ca.govllocalfrmsllocalfrms.shtml
Form RI-ADR001 [Rev. 01101112]                     (ADR) STIPULATION
[Reformatted 06101116]


                                                                                                                                 EXHIBIT A
                                                                                                                              PAGE 40 OF 44
      Case 5:22-cv-00718-CAS-SHK
         Case Number CVRl2201296 0000016729399Document      1-1Jr,Filed
                                              - W. Samuel Hamrick          04/26/22
                                                                  E)(ecutive Officer/Clerk ofPage
                                                                                             the Court42   of 45
                                                                                                       By Brigit Prado,Page
                                                                                                                       Clerk ID #:49
                                                                                                                                  CM-010
 ATTORNE;Y OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                     FOR COURT USE ONLY
,_ Tony Cara, SBN 170720
   CDLG, PC
   2973 Harbor Boulevard, Suite 594
   Costa Mesa, CA 92626
       TELEPHONE NO.: ~888) 6 I 5-67 65                      FAXNO.: (888)       660-8874
  ATTORNEY FOR (Name). laintiff Rene Gonzalez
SUPERIOR COURT OF CALIFORNIA, COUNTY OF                   RIVERSIDE
     STREET ADDREss: 4050 Main St.
     MAILING ADDRESS: SAME
    CITY AND ZIP CODE: Riverside, CA 92501
        BRANCH NAME: ~@MiP&I ~ttsiiH ~@M~M                    Riverside Historic Courthouse
  CASE NAME:
  GONZALEZ v. SPECIALIZED LOAN SERVICING, LLC;
      CIVIL CASE COVER SHEET                                                                                   CASE NUMBER:
                                                                    Complex Case Designation
                                                                                                                                    CVRI 2201296
0         Unlimited        Limited D                   Counter  D           Joinder  D
          (Amount          (Amount
                                                                                         JUDGE:
          demanded         demanded is          Filed with first appearance by defendant
          exceeds $25,000) $25,000 or less)          (Cal. Rules of Court, rule 3.402)     DEPT:
                               Items 1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
    Auto Tort                                               Contract                                    Provisionally Complex Civil Litigation
    D       Auto (22)                                       D       Breach of contract/warranty (06)    (Cal. Rules of Court, rules 3.400-3.403)
    D       Uninsured motorist (46)                         D       Rule 3.740 collections (09)         D      Antitrust/Trade regulation (03)
    Other Pl/PO/WO (Personal Injury/Property                D       Other collections (09)              D      Construction defect (10)
    Damage/Wrongful Death) Tort                             D       Insurance coverage (18)             D      Mass tort (40)
    D       Asbestos (04)                                   D       Other contract (37)                 D      Securities litigation (28)
    D       Product liability (24)                          Real Property                               D      EnvironmentalfToxic tort (30)
    D       Medical malpractice (45)                        D       Eminent domain/Inverse              D      Insurance coverage claims arising from the
    D       Other PI/PD/WD (23)                                     condemnation (14)                          above listed provisionally complex case
    Non-PI/PD/WD (Other) Tort                               D       Wrongful eviction (33)                     types (41)
    D    Business tort/unfair business practice (07)        0       Other real property (26)   Enforcement of Judgment
    D    Civil rights (08)                           Unlawful Detainer                                  D
                                                                                                     Enforcement of judgment (20)
    D    Defamation (13)                                    D
                                                           Commercial (31)                     Miscellaneous Civil Complaint
    D    Fraud (16)                                         D
                                                           Residential (32)                             D
                                                                                                     RIC0(27)
    D    Intellectual property (19)                         D
                                                           Drugs (38)                                   D
                                                                                                     Other complaint (not specified above) (42)
    D    Professional negligence (25)                Judicial Review                           Miscellaneous Civil Petition
    D    Other non-Pl/PD/WO tort (35)                       D
                                                           Asset forfeiture (05)                        D
                                                                                                     Partnership and corporate governance (21 )
   Employment                                               D
                                                           Petition re: arbitration award (11)          D
                                                                                                     Other petition (not specified above) (43)
    D    Wrongful termination (36)                          D
                                                           Writ of mandate (02)
    D    Other employment (15)                              D
                                                           Other judicial review (39)
2. This case LJ is            W is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
     a.   D      Large number of separately represented parties                 d.   D    Large number of witnesses
     b.D         Extensive motion practice raising difficult or novel           e.   D    Coordination with related actions pending in one or more courts
                 issues that will be time-consuming to resolve                            in other counties, states, or countries, or in a federal court
     c.   D      Substantial amount of documentary evidence                     f.   D    Substantial postjudgment judicial supervision

3. Remedies sought (check all that apply): a.@ monetary b.                       0
                                                                         nonmonetary; declaratory or injunctive relief                               c.   D     punitive
4. Number of causes of action (specify): 6
5. This case          D
                     is                0
                                is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: March 12, 2022
Tony Cara, Esq.
                                   (TYPE OR PRINT NAME)
                                                                                                       7i
                                                                                                       (SIGN
                                                                                                                 ~
                                                                                                               RE OF PARTY OR ATTORNEY FOR PARTY)
                                                                             NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.
                                                                                                                                                                  Fla e1of2
Form Adopted for Mandatory Use                                                                                     Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
                                                             CIVIL CASE COVER SHEET                                        Cal. Standards of Judicial Administration, std. 3.10
                                                                                                                                    EXHIBIT A
  Judicial Council of California
   CM-010 IRev. July 1. 2vu7]                                                                                                                            www. courtinfo .ca.gov

                                                                                                                                 PAGE 41 OF 44
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                                                                                                                                       CM-010
                                       INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed . You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following : (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                            Provisionally Complex Civil Litigation (Cal.
     Auto (22}-Personal Injury/Property             Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                         Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer            Construction Defect ( 10)
           case involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort (40)
           motorist claim subject to                     Contract/Warranty Breach-Seller                 Securities Litigation (28)
           arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
           instead of Auto)                              Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Warranty                                        (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                    case type listed above) (41)
Tort                                                Collections (e.g ., money owed, open             Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
          Asbestos Personal Injury/                      Other Promissory Note/Collections                          County)
                 Wrongful Death                               Case                                           Confession of Judgment (non-
                                                    Insurance Coverage (not provisionally                           domestic relations)
     Product Liability (not asbestos or
          toxic/environmental) (24)                      complex) (18)                                       Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice-                           Other Coverage                                           (not unpaid taxes)
                 Physicians & Surgeons              Other Contract (37)                                      Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                        Judgment on Unpaid Taxes
                 Malpractice                             Other Contract Dispute                              Other Enforcement of Judgment
                                                Real Property                                                      Case
     Other Pl/PD/WO (23)
          Premises Liability (e.g., slip            Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                 and fall)                               Condemnation (14)                               RICO (27)
          Intentional Bodily Injury/PD/WO           Wrongful Eviction (33)                               Other Complaint (not specified
                                                                                                             above) (42)
                 (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                          Declaratory Relief Only
                                                         Writ of Possession of Real Property
                 Emotional Distress                                                                          Injunctive Relief Only (non-
                                                         Mortgage Foreclosure
          Negligent Infliction of                                                                                   harassment)
                                                         Quiet Title
                 Emotional Distress                                                                          Mechanics Lien
                                                         Other Real Property (not eminent
          Other Pl/PD/WO                                                                                     Other Commercial Complaint
                                                         domain, landlord/tenant, or
                                                         foreclosure)                                               Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort
                                                                                                             Other Civil Complaint
     Business Tort/Unfair Business              Unlawful Detainer
                                                                                                                   (non-tort/non-complex)
         Practice (07)                              Commercial (31)
                                                                                                     Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                     Partnership and Corporate
         false arrest) (not civil                   Drugs (38) (if the case involves illegal                  Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)                above) (43)
            (13)                                Judicial Review                                              Civil Harassment
     Fraud (16)                                    Asset Forfeiture (05)                                     Workplace Violence
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
     Professional Negligence (25)                  Writ of Mandate (02)                                            Abuse
         Legal Malpractice                               Writ-Administrative Mandamus
                                                                                                             Election Contest
         Other Professional Malpractice                  Writ-Mandamus on Limited Court
                                                                                                             Petition for Name Change
              (not medical or legal)                         Case Matter                                     Petition for Relief From Late
      Other Non-Pl/PD/WO Tort (35)                       Writ-Other Limited Court Case                             Claim
Employment
                                                             Review                                          Other Civil Petition
    Wrongful Termination (36)
                                                   Other Judicial Review (39)
    Other Employment (15)                                Review of Health Officer Order
                                                        Notice of Appeal-Labor
                                                            Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                               Page 2 of 2
                                                    CIVIL CASE COVER SHEET
                                                                                                                    EXHIBIT A
                                                                                                                 PAGE 42 OF 44
                          Electronically FILED by Superior
            Case 5:22-cv-00718-CAS-SHK                     Court of California,
                                                     Document         1-1 Filed County 04/26/22
                                                                                       ofRiverside on 04/0112022
                                                                                                      Page 4407:06   AM Page ID #:51
                                                                                                                 of 45
                 • Case Number CVRl2201296 0000016729400 - W. Samuel Hamrick Jr, Executive Officer/Clerk of the Court By Brigit Prado, Clerk


                                                         SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE

    0      BANNING 311 E. Ramsey St., Banning, CA 92220                                     0    MURRIETA 30755-D Auld Rd., Suite 1226, Murrieta, CA 92563
    0      BLYTHE 265 N. Broadway, Blythe, CA 92225                                         0    PALM SPRINGS 3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262
    0      HEMET 880 N. State St., Hemet, CA 92543                                          mJ   RIVERSIDE 4050 Main St., Riverside, CA 92501
    0      MORENO VALLEY 13800 Heacock St., Ste. D201,                                      0    TEMECULA 41002 County Center Dr., #100, Temecula, CA 92591
           Moreno Valley, CA 92553
                                                                                                                                                                                  Rl-030
    ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar Number and Address)                                                                  FOR COURT USE ONLY
    Tony Cara, Esq. SBN 170720
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           TELEPHONE NO (888) 615-6765                             FAX NO. (Optional):   (888) 660-8874
        E-MAIL ADDRESS (Optional):   cdlglawyer@gmail.com
           ATTORNEY FOR (Name)       Plaintiff Rene Gonzalez

                PLAINTIFF/PETITIONER:            RENE GONZALEZ


           DEFENDANT/RESPONDENT:                SPECIALIZED LOAN SERVICING, LLC, et al.                                       CASE NUMBER:
                                                                                                                                                CVRI 2201296


                                                                              CERTIFICATE OF COUNSEL
i

    The undersigned certifies that this matter should be tried or heard in the court identified above for the reasons
    specified below:

        D        The action arose in the zip code of:


        181      The action concerns real property located in the zip code of:                                          92882


        D        The Defendant resides in the zip code of:




    For more information on where actions should be filed in the Riverside County Superior Courts, please refer
    to Local Rule 1.0015 at www.riverside.courts.ca.gov.


    I certify (or declare) under penalty of perjury under the laws of the State of California that the foregoing is
    true and correct.



        Date March 12, 2022




        Tony Cara, Esq.
            (TYPE OR PRINT NAME OF    C   ATTORNEY   C   PARTY MAKING DECLARATION)
                                                                                                   ►



                                                                                                                                                                              Pa e 1 of 1
    Approved for Mandatory Use                                                                                                                                               Local Rule 1.0015
    Riverside Superior Court
                                                                                 CERTIFICATE OF COUNSEL                                       riverside.courts.ca.gov/k>calfrms/localfrms.shtml

                                                                                                                                             EXHIBIT A
    Rl-030 [Rev. 08/15/13]


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                    SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                        Historic Court House
                                                4050 Main Street, Riverside, CA 92501

  Case Number:             CVRl2201296

  Case Name:               GONZALEZ vs SPECIALIZED LOAN SERVICING, LLC



                                             NOTICE OF DEPARTMENT ASSIGNMENT

       The above entitled case is assigned to the Honorable O.G . Magno in Department 7 for All Purposes.

       Any disqualification pursuant to CCP section 170.6 shall be filed in accordance with that section.

       The court follows California Rules of Court, Rule 3.1308(a)(1) for tentative rulings (see Riverside Superior Court
       Local Rule 3316). Tentative Rulings for each law and motion matter are posted on the internet by 3:00 p.m. on the
       court day immediately before the hearing at http://riverside.courts.ca.gov/tentativerulings.shtml. If you do not have
       internet access, you may obtain the tentative ruling by telephone at (760) 904-5722.

       To request oral argument, you must (1) notify the judicial secretary at (760) 904-5722 and (2) inform all other
       parties, no later than 4:30 p.m. the court day before the hearing. If no request for oral argument is made by
       4:30 p.m. , the tentative ruling will become the final ruling on the matter effective the date of the hearing.

       The filing party shall serve a copy of this notice on all parties.


                    Interpreter services are available upon request. If you need an interpreter, please complete and submit the online
     r~ ,)) ~ r--   Interpreter Request Form (https://riverside.courts.ca .gov/Divisions/lnterpreterlnfo/ri-in007.pdf) or contact the clerk's
                    office and verbally request an interpreter. All requests must be made in advance with as much notice as possible ,
                    and prior to the hearing date in order to secure an interpreter.


     ~
                    Assistive listening systems, computer-assisted real time captioning, or sign language interpreter services are
                    available upon request if at least 5 days notice is provided. Contact the Office of the ADA Coordinator by calling
                    (951) 777-3023 or TDD (951) 777-3769 between 8:00 am and 4:30 pm or by emailing ADA@riverside.courts .ca .gov
                    to request an accommodation. A Request for Accommodations by Persons With Disabilities and Order (form MC-
                    410) must be submitted when requesting an accommodation. (Civil Code section 54.8.)



       Dated : 04/05/2022                                                 W. SAMUEL HAMRICK JR.,
                                                                          Court Executive Officer/Clerk of Court



                                                                          by: ~      ~   -~

                                                                               B. Prado, Deputy Clerk
Cl-NOOACV
(Rev. 02/16/21)




                                                                                                                    EXHIBIT A
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